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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :       Case No. 22-cr-102 (JDB)
         v.                                   :
                                              :
JORDAN BONENBERGER,                           :
                                              :
                 Defendant                    :

                     GOVERNMENT’S SENTENCING MEMORANDUM

         The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this sentencing memorandum in connection with

the above-captioned matter. For the reasons set forth herein, the government requests that this

Court sentence Defendant Jordan Bonenberger to 14 days of intermittent confinement, 36 months

of probation, 60 hours of community service, $500 in restitution, and a $10 special assessment.

    I.        Introduction

         Defendant Jordan Bonenberger—a 27-year-old engineer and United States Marine Corps

Reserves veteran from Pittsburgh, Pennsylvania, participated in the January 6, 2021 attack on the

United States Capitol—a violent attack that forced an interruption of Congress’s certification of

the 2020 Electoral College vote count, threatened the peaceful transfer of power after the 2020

Presidential election, injured more than one hundred police officers, and resulted in more than 2.9

million dollars in losses.1




1
  As of July 7, 2023, the approximate losses suffered as a result of the siege at the United States
Capitol was $2,923,080.05. That amount reflects, among other things, damage to the United States
Capitol building and grounds and certain costs borne by the United States Capitol Police. The
Metropolitan Police Department (MPD) also suffered losses as a result of January 6, 2021, and is
also a victim. MPD recently submitted a total of approximately $629,056 in restitution amounts,
but the government has not yet included this number in our overall restitution summary ($2.9
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          Defendant Bonenberger pleaded guilty to one count of violating 40 U.S.C. § 5104(e)(2)(G)

(Unlawful Parading, Demonstrating, or Picketing in a Capitol Building). As explained herein, a

sentence of incarceration is appropriate in this case because Bonenberger (1) walked through the

chaos on the West Plaza; (2) entered the Capitol building through the Upper West Side doors with

other rioters minutes after police had to retreat from that area; (3) despite hearing alarms and

observing other indicators he was not allowed in the building, met up with his travel companion

and continued to stay in the Capitol; (4) observed police with riot shields and saw tear gas being

deployed; and (5) nevertheless continued to penetrate the Capitol to a third floor hallway adjacent

to Speaker Pelosi’s private office suite. 2

          The Court must also consider that Bonenberger’s conduct on January 6, like the conduct

of hundreds of other rioters, took place in the context of a large and violent riot that relied on

numbers to overwhelm police officers who were trying to prevent a breach of the Capitol Building,

and disrupt the proceedings. Here, the facts and circumstances of Bonenberger’s crime support a

sentence of 14 days of intermittent confinement in this case.

    II.      Factual and Procedural Background

                             The January 6, 2021 Attack on the Capitol

          To avoid unnecessary exposition, the government refers to the general summary of the

attack on the U.S. Capitol. See ECF 53 (Statement of Offense), at 1-3.




million) as reflected in this memorandum. However, in consultation with individual MPD victim
officers, the government has sought restitution based on a case-by-case evaluation.
2
  Bonenberger was jointly charged with Melanie Lanham. She pleaded guilty to one count of
violating 40 U.S.C. § 5104(e)(2)(G). She was sentenced on February 9, 2023 to 18 months of
probation, $500 in restitution, and a $10 special assessment.
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            Defendant Bonenberger’s Role in the January 6, 2021 Attack on the Capitol

       On January 6, 2021, Jordan Bonenberger traveled with co-defendant Melanie Lanham

(“Lanham”) to Washington, D.C., from Pennsylvania to attend the “Stop the Steal” rally. After

sightseeing and attending the rally, Bonenberger and Lanham walked to the U.S. Capitol.

       At approximately 2:38 p.m., Bonenberger entered the Capitol through the Upper West

Terrace doors, approximately five minutes after those doors were first breached. See “New Capitol

Surveillance Footage Shows A Breach By Jan. 6 Rioters From Start To Finish,” Buzzfeednews,

available       at       www.buzzfeednews.com/article/zoetillman/capitol-footage-police-trump-

insurrection-mob (last accessed Feb. 2, 2023). There were no police in the area he entered because

they had retreated moments before. Id. Below in Image 1 is a still image from surveillance video

of Bonenberger entering the Capitol building. Bonenberger, wearing blue jeans, a black jacket,

and red ballcap, is circled in red in the image.




                                              Image 1

       The door was alarmed and went off as the doors were breached. The alarm was still blaring

when Bonenberger entered the hallway, which was lined with boxes. He has admitted that he

knew at the time he entered the U.S. Capitol Building that he did not have permission to do so.




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       Bonenberger walked up the steps to the Rotunda and walked around the Rotunda. He

returned down the steps and near the Upper West Terrace doors to wait for Lanham. Lanham

entered the Capitol through the same Upper West Terrace doors at approximately 2:44 p.m and

climbed the steps to the Rotunda with Bonenberger. The two then walked around the Rotunda, as

shown in Image 2.




                                             Image 2

       Bonenberger and Lanham also walked to other areas of the Capitol, including a corridor

on the third floor of the Capitol building containing part of the Office of the Speaker. No other

rioters were in the area. The hallway was furnished with desks and other office furniture. Image

3 shows Bonenberger with Lanham in the corridor at approximately 2:55 p.m.




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                                          Image 3

       Bonenberger and Lanham then exited the Capitol through the Upper West Terrace doors

at approximately 2:57 p.m., as shown in Image 4 below.




                                          Image 4

       Bonenberger remained on the Western Exterior steps for several minutes and took

photographs with Lanham, as shown in Image 5 below.




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                                                Image 5

       In total, Bonenberger spent approximately 20 minutes inside of the Capitol.

                                     Defendant’s Interview

       On August 9, 2023, Bonenberger was interviewed with his counsel present. He admitted

travelling with Melanie Lanham in her car to Washington, D.C. on January 6, 2021, and watching

former-President Trump’s speech. After the speech concluded, they walked from the Ellipse to

the Capitol. Bonenberger claimed that they moved up in the crowd closer to the Capitol because

they were curious.

       Bonenberger claimed that he noticed a door to the Capitol was being accessed by people

moving in and out of the door. Bonenberger acknowledged entering the Capitol and making his

way to the Rotunda area. He admitted that he could hear alarms and hearing them led him to

question whether he was allowed in the building, suggesting incredibly that even by this time, he

wasn’t “sure” whether he was allowed in the building.

       Bonenberger admitted that after leaving the Rotunda, he and Lanham saw police with riot

shields blocking off an area and noticed tear gas had been released inside the building. According

to Bonenberger, he told Lanham “this is not good; we need to leave right now.” Bonenberger said

that as they began to leave, Lanham stated that she needed to go to the restroom. They found an


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elevator and took it to the third floor. Bonenberger said they found a bathroom door, but it was

locked. He said they proceeded down the hallway, saw a sign that said “Office of the Speaker,”

and took a photo. Bonenberger said they were unable to find a restroom and proceeded down the

elevator to the first floor and exited the Capitol the same way they entered. He acknowledged that

they stood on the steps on the West side of the Capitol for a while before making their way through

the crowd and leaving the area.

          During the interview, Bonenberger acknowledged that he and Lanham took photos from

the day.

                                   The Charges and Plea Agreement

          On March 14, 2022, the United States charged Bonenberger by criminal complaint with

violating 18 U.S.C. § 1752(a)(1), 18 U.S.C. § 1752(a)(2), 40 U.S.C. § 5104(e)(2)(D), and 40

U.S.C. § 5104(e)(2)(G). On March 18, 2022, law enforcement officers arrested him after he

voluntarily surrendered to the FBI Pittsburgh Field Office. On March 28, 2022, the United States

charged Bonenberger by a four-count Information with those same violations. On April 28, 2023,

pursuant to a plea agreement, Bonenberger pleaded guilty to Count Four of the Information,

charging him with a violation of 40 U.S.C. § 5104(e)(2)(G). By plea agreement, Defendant agreed

to pay $500 in restitution to the Architect of the Capitol.

   III.      Statutory Penalties

          Bonenberger now faces a sentencing on a single count of violating 40 U.S.C. §

5104(e)(2)(G). As noted by the plea agreement and the U.S. Probation Office, the defendant faces

up to six months of imprisonment and a fine of up to $5,000. The defendant must also pay

restitution under the terms of his plea agreement. See 18 U.S.C. § 3663(a)(3); United States v.




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Anderson, 545 F.3d 1072, 1078-79 (D.C. Cir. 2008). As this offense is a Class B Misdemeanor,

the Sentencing Guidelines do not apply to it. 18 U.S.C. § 3559; U.S.S.G. §1B1.9.

   IV.      Sentencing Factors Under 18 U.S.C. § 3553(a)

         In this misdemeanor case, sentencing is guided by 18 U.S.C. § 3553(a), which identifies

the factors a court must consider in formulating the sentence. In this case, as described below, the

Section 3553(a) factors weigh in favor of 14 days of intermittent confinement.

            A. The Nature and Circumstances of the Offense

         The attack on the U.S. Capitol on January 6 posed “a grave danger to our democracy.”

United States v. Munchel, 991 F.3d 1273, 1284 (D.C. Cir. 2021). The attack “endangered hundreds

of federal officials in the Capitol complex,” including lawmakers who “cowered under chairs while

staffers blockaded themselves in offices, fearing physical attacks from the rioters.” United States

v. Judd, 21-cr-40, 2021 WL 6134590, at *5 (D.D.C. Dec. 28, 2021). While assessing

Bonenberger’s participation in that attack to fashion a just sentence, this Court should consider

various aggravating and mitigating factors. Notably, for a misdemeanor defendant like

Bonenberger, the absence of violent or destructive acts is not a mitigating factor. Had Bonenberger

engaged in such conduct, he would have faced additional criminal charges.

         Bonenberger made his way to the front of the crowd on the Upper West Terrace, where he

saw a group of police near a door. Nevertheless, he made entry through the non-public, alarmed

entrance lined with boxes a few minutes after police had to retreat from the area. Thus, he took

advantage of the opportunity presented by the mob, and unlawfully entered the building.

Moreover, as a member of the United States Marine Corps Reserves, he knew or should have

known how his participation in a violent riot in which police were vastly outnumbered placed those

officers and others at risk of serious injury or worse.



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        When inside the Capitol, Bonenberger made his way to the Rotunda area and rather than

exit the building immediately, he reunited with Lanham and they both then traveled to the Rotunda

and explored other areas of the Capitol. In particular, they went to the third floor—an area where

very few rioters traveled—and explored part of the Office of the Speaker in a secluded corridor.

In total, he remained inside for approximately 20 minutes.

        Accordingly, the nature and the circumstances of this offense establish the clear need for a

sentence of 14 days of intermittent confinement in this matter.

            B. The History and Characteristics of Bonenberger

        Bonenberger has no criminal history and has been compliant with his conditions of pre-

trial release.

        Bonenberger enlisted in the United States Marine Corps Reserves in 2019 and separated

under an Honorable Conditions Discharge in March 2022. PSR ¶ 78. Bonenberger’s military

service deserves praise, but it is troubling that despite his oath and military training, he still chose

to participate in the Capitol riot—an event that threatened the Constitutional principles he swore

an oath to protect and defend. His military status is thus a “double-edged sword” that has

aggravating as well as mitigating effects on the sentencing calculus.

            C. The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
               and Promote Respect for the Law

        The attack on the U.S. Capitol building and grounds was an attack on the rule of law. As

with the nature and circumstances of the offense, this factor supports a sentence of incarceration,

as it will in most cases, including misdemeanor cases, arising out of the January 6 riot. See United

States v. Joshua Bustle and Jessica Bustle, 21-cr-238-TFH, Tr. 08/24/21 at 3 (“As to probation, I

don't think anyone should start off in these cases with any presumption of probation. I think the




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presumption should be that these offenses were an attack on our democracy and that jail time is

usually -- should be expected”) (statement of Judge Hogan).

             D. The Need for the Sentence to Afford Adequate Deterrence

         Deterrence encompasses two goals: general deterrence, or the need to deter crime

generally, and specific deterrence, or the need to protect the public from further crimes by this

defendant. 18 U.S.C. § 3553(a)(2)(B-C), United States v. Russell, 600 F.3d 631, 637 (D.C. Cir.

2010).

         General Deterrence

          The need for general deterrence weighs heavily in favor of incarceration in nearly every

case arising out of the violent riot at the Capitol. Indeed, general deterrence may be the most

compelling reason to impose a sentence of incarceration. “Future would-be rioters must be

deterred.” (statement of Judge Nichols at sentencing, United States v. Thomas Gallagher, 1:21-

CR-00041 Tr. 10/13/2021 at 37).

         General deterrence is an important consideration because many of the rioters intended that

their attack on the Capitol would disrupt, if not prevent, one of the most important democratic

processes we have: the peaceful transfer of power to a newly elected President. There is possibly

no greater factor that this Court must consider.

         Specific Deterrence

         Bonenberger’s actions on January 6, 2021 demonstrate the need for specific deterrence for

this defendant. He betrayed his military oath and invaded the Capitol despite knowing that he was

breaking the law. Thus, the United States recommends a short sentence of incarceration to prevent

Bonenberger from ever again breaking the law in pursuit of his political goals.




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           E. The Need to Avoid Unwarranted Sentencing Disparities

       As the Court is aware, the government has charged hundreds of individuals for their roles

in this one-of-a-kind assault on the Capitol, ranging from unlawful entry misdemeanors, such as

in this case, to assault on police officers, to conspiracy to corruptly interfere with Congress. 3 This

Court must sentence Bonenberger based on his own conduct and relevant characteristics, but

should give substantial weight to the context of his unlawful conduct: his participation in the

January 6 riot.

       Bonenberger has pleaded guilty to Count Four of the Information, charging him with

Parading, Demonstrating, or Picketing in the Capitol Building, in violation of 18 U.S.C.

§ 5104(e)(2)(G). This offense is a Class B misdemeanor. 18 U.S.C. § 3559. Certain Class B and C

misdemeanors and infractions are “petty offenses,” 18 U.S.C. § 19, to which the Sentencing

Guidelines do not apply, U.S.S.G. § 1B1.9. The sentencing factors set forth in 18 U.S.C. § 3553(a),

including “the need to avoid unwarranted sentence disparities among defendants with similar

records who have been found guilty of similar conduct,” 18 U.S.C. § 3553(a)(6), do apply,

however.

       Section 3553(a)(6) of Title 18 directs a sentencing court to “consider … the need to avoid

unwarranted sentence disparities among defendants with similar records who have been found

guilty of similar conduct.” Section 3553(a)(6) does not limit the sentencing court’s broad

discretion under 18 U.S.C. § 3553(a) “to impose a sentence sufficient, but not greater than

necessary, to comply with the purposes set forth in paragraph (2) of this subsection.” 18 U.S.C.


3
  A routinely updated table providing additional information about the sentences imposed on other
Capitol breach defendants is available here: https://www.justice.gov/usao-dc/capitol-breach-cases.
To reveal that table, click on the link “SEE SENTENCES HANDED DOWN IN CAPITOL
BREACH CASES.” The table shows that imposition of the government’s recommended sentence
in this case would not result in an unwarranted sentencing disparity.

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§ 3553(a). Although unwarranted disparities may “result when the court relies on things like

alienage, race, and sex to differentiate sentence terms,” a sentencing disparity between defendants

whose differences arise from “legitimate considerations” such as a “difference[] in types of

charges” is not unwarranted. United States v. Bridgewater, 950 F.3d 928, 936 (7th Cir. 2020).

       Although all the other defendants discussed below participated in the Capitol breach on

January 6, 2021, many salient differences explain the differing recommendations and sentences.

While no previously sentenced case contains the same balance of aggravating and mitigating

factors present here, the Court may consider sentences of Capitol breach defendants who spent

time in sensitive places within the Capitol. A defendant’s entry into a sensitive space, such as the

Senate Floor or a member’s office, places that defendant in a more serious category of offenders

than defendants who remained in central, more public spaces, such as the Rotunda. In this case,

Bonenberger traveled to the third floor of the Capitol building where many staff offices are located.

A defendant who entered a sensitive space took an extra step to occupy the Capitol and displace

Congress and to display the dominance of the mob over the will of the people.

       To that end, while no previously sentenced case contains the same balance of aggravating

and mitigating factors present here, United States v. Thomas Fassell, 21-cr-692 (CKK), provides

a suitable comparison to the relevant sentencing considerations in this case. Although Fassell

made statements after January 6 showing pride rather than remorse or contrition and spent a longer

period of time in the Capitol, other facts of his case resemble Bonenberger’s. Both entered the

Capitol from the West Plaza and ultimately traveled to Speaker Pelosi’s office suite. Judge Kollar-

Kotelly sentenced Fassell to 12 months of probation with 14 days of intermittent incarceration.

       In another comparable case, United States v. Nicholas Perretta and Mitchell Paul Vukich,

21-CR-00539 (TSC), the defendants also traveled to the third floor of the Capitol building. Unlike



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Bonenberger, Perretta and Vukich witnessed an assault and took papers from off the floor of the

hallways. However, they were in more public areas near the gallery rather than the more private

hallway where Bonenberger and Lanham were. Judge Chutkan sentenced them each to 30 days of

incarceration. .

         In any event, the goal of minimizing unwarranted sentencing disparities in § 3553(a)(6) is

“only one of several factors that must be weighted and balanced,” and the degree of weight is

“firmly committed to the discretion of the sentencing judge.” United States v. Coppola, 671 F.3d

220, 254 (2d Cir. 2012). The § 3553(a) factors that this Court assesses are “open-ended,” with the

result that “different district courts may have distinct sentencing philosophies and may emphasize

and weigh the individual § 3553(a) factors differently; and every sentencing decision involves its

own set of facts and circumstances regarding the offense and the offender.” United States v.

Gardellini, 545 F.3d 1089, 1093 (D.C. Cir. 2008). “[D]ifferent district courts can and will sentence

differently—differently from the Sentencing Guidelines range, differently from the sentence an

appellate court might have imposed, and differently from how other district courts might have

sentenced that defendant.” Id. at 1095.

    V.      Restitution

         The Victim and Witness Protection Act of 1982 (“VWPA”), Pub. L. No. 97-291 § 3579,

96 Stat. 1248 (now codified at 18 U.S.C. § 3663), “provides federal courts with discretionary

authority to order restitution to victims of most federal crimes.” United States v. Papagno, 639

F.3d 1093, 1096 (D.C. Cir. 2011); see 18 U.S.C. § 3663(a)(1)(A) (Title 18 offenses subject to

restitution under the VWPA). 4 Generally, restitution under the VWPA must “be tied to the loss



4
 The Mandatory Victims Restitution Act, Pub. L. No. 104-132 § 204, 110 Stat. 1214 (codified at
18 U.S.C. § 3663A), “requires restitution in certain federal cases involving a subset of the crimes
covered” in the VWPA, Papagno, 639 F.3d at 1096, including crimes of violence, “an offense
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caused by the offense of conviction,” Hughey v. United States, 495 U.S. 411, 418 (1990); identify

a specific victim who is “directly and proximately harmed as a result of” the offense of conviction,

18 U.S.C. § 3663(a)(2); and is applied to costs such as the expenses associated with recovering

from bodily injury, 18 U.S.C. § 3663(b). At the same time, the VWPA also authorizes a court to

impose restitution “in any criminal case to the extent agreed to by the parties in a plea agreement.”

See 18 U.S.C. § 3663(a)(3). United States v. Anderson, 545 F.3d 1072, 1078-79 (D.C. Cir. 2008).

          Those principles have straightforward application here. The parties agreed, as permitted

under 18 U.S.C. § 3663(a)(3), that Bonenberger must pay $500 in restitution, which reflects in part

the role Bonenberger played in the riot on January 6. 5 Plea Agreement at ¶ 11. As the plea

agreement reflects, the riot at the United States Capitol had caused “approximately $2,734,783.14”

in damages, a figure based on loss estimates supplied by the Architect of the Capitol and other

governmental agencies as of April 2022. Id. (As noted above in footnote 1, the amount of damages

has since been updated by the Architect of the Capitol, USCP, and MPD.) Bonenberger’s

restitution payment must be made to the Clerk of the Court, who will forward the payment to the

Architect of the Capitol and other victim entities. See PSR ¶ 109.

    VI.      Conclusion

          Sentencing requires the Court to carefully balance the § 3553(a) factors. Balancing these

factors, the government recommends that this Court sentence Defendant to 14 days of intermittent

confinement, 36 months of probation, 60 hours of community service, $500 in restitution and a


against property … including any offense committed by fraud or deceit,” and any offense “in which
an identifiable victim or victims has suffered a physical injury or pecuniary loss.” 18 U.S.C.
§ 3663A(c)(1).
5
  Unlike under the Sentencing Guidelines for which (as noted above) the government does not
qualify as a victim, see U.S.S.G. § 3A1.2 cmt. n.1, the government or a governmental entity can
be a “victim” for purposes of the VWPA. See United States v. Emor, 850 F. Supp.2d 176, 204 n.9
(D.D.C. 2012) (citations omitted).

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$10 special assessment. Such a sentence protects the community, promotes respect for the law,

and deters future crime by imposing restrictions on his liberty as a consequence of his behavior,

while recognizing his acceptance of responsibility for his crime.

                                             Respectfully submitted,

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